Case 18-18455-ref         Doc 30Filed 04/03/19 Entered 04/03/19 17:12:53                          Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
   IN RE:
   Elfrido Mateo, aka Elfrido Manuel Mateo                 Case No. 18-18455 REF
   Lizette Mateo, aka Lizette LaTorre
                                      Debtors              Chapter 7

   BANK OF AMERICA, N.A.
                                          Movant
          v.
   Elfrido Mateo, aka Elfrido Manuel Mateo
   Lizette Mateo, aka Lizette LaTorre
   and
   Lynn E. Feldman, Esquire
                                      Respondents

         NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

       Movant has filed a motion for relief from the automatic stay with the court to permit BANK
  OF AMERICA, N.A. to foreclose on 622 N. 16th Street, Allentown, PA 18102.

  Your rights may be affected. You should read these papers carefully and discuss them with
  your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
  may wish to consult an attorney.)

  1. If you do not want the court to grant the relief sought in the motion or if you want the court to
  consider your views on the motion, then on or before 4/18/2019 you or your attorney must do all of
  the following:

         (a)    file an answer explaining your position at: United States Bankruptcy Clerk, United States
                Bankruptcy Court, United States Bankruptcy Court, 3rd Floor, The Madison Building, 400
                Washington Street, Reading, PA 19301.

  If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so
  that it will be received on or before the date stated above; and

                                                                   Powers Kirn, LLC
          (b)    mail a copy to the movant's attorney:
                                                                   8 Neshaminy Interplex, Suite 215
                                                                   Trevose, PA 19053

  2. If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
  attend the hearing, the court may enter an order granting the relief requested in the motion.
  3. A hearing on the motion is scheduled to be held before the Honorable Richard E. Fehling on
  4/25/2019 at 9:30am in Courtroom 1, United States Bankruptcy Court, 3rd Floor, The Madison
  Building, 400 Washington Street, Reading, PA 19301.
  4. If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you request
  a copy from the attorney named in paragraph 1(b).
  5. You may contact the Bankruptcy Clerk's office at 610-208-5040 to find out whether the hearing
  has been canceled because no one filed an answer.

  Date: April 3, 2019
